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                         EXHIBIT 1
                                          Case:
                      Return Date: No return     1:21-cv-01579
                                              date scheduled    Document 12-Person
                                                                         #: 1-1 Filed:Jury
                                                                                       03/22/21                Page 2 of 28 PageID #:12
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                      Hearing Date: 5/27/2021 10:00 AM - 10:00 AM
                      Courtroom Number: 2601
                      Location: District 1 Court                                                                                    FILED
                              Cook County, IL                                                                                       1/27/2021 1:37 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                           IRIS Y. MARTINEZ
                                                                                                                                    CIRCUIT CLERK
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                                    COOK COUNTY, IL
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                                                                                                                                    2021CH00404

                                            JANE DOE, individually and on behalf of all
                                            others similarly situated,                              Case No. 2021CH00404

                                                                Plaintiff,                          CLASS ACTION
                                                   v.
                                                                                                    JURY TRIAL DEMANDED
                                            NORTHWESTERN UNIVERSITY,

                                                                Defendant.

                                                                             CLASS ACTION COMPLAINT

                                                   Plaintiff Jane Doe (“Plaintiff”) brings this action on behalf of herself and all others

                                            similarly situated against Defendant Northwestern University and its present, former, or future

                                            direct and indirect parent companies, subsidiaries, affiliates, agents, and/or other related entities

                                            (“Northwestern” or “Defendant”) and alleges as follows:

                                                                                    INTRODUCTION

                                                   1.      Defendant Northwestern University is a private university located in Evanston,

                                            Illinois. Northwestern offers undergraduate and graduate programs both in person on its

                                            campuses and through distance and online learning programs.

                                                   2.      In offering courses to its students, Northwestern requires that many student exams

                                            be conducted using online remote proctoring tools including Respondus Monitor and Examity.

                                            Through these remote proctoring tools, Northwestern unlawfully collects, uses, and discloses

                                            students’ biometric identifiers and biometric information without the students’ written and

                                            informed consent.

                                                   3.      Northwestern’s remote proctoring tools capture, use, and store vast amounts of

                                            data, including facial recognition data, facial detection data, recorded patterns of keystrokes, eye
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                                            monitoring data, gaze monitoring data, and camera and microphone recordings to effectively

                                            surveil students taking online exams. Northwestern owns, has access to, and possesses this data.
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                                                   4.      Through online proctoring tools, Northwestern collects, captures, and stores

                                            everything from a student’s facial features to their voice through a web portal accessed through

                                            the student’s personal device. Using these tools, Northwestern is able to collect and aggregate

                                            information on all aspects of a student’s life. Indeed, as one director of academic testing told the

                                            Washington Post, software programs like Respondus’ are akin to “spyware.” Mass School

                                            Closures in the Wake of the Coronavirus are Driving a New Wave of Student Surveillance,

                                            WASHINGTON POST (Apr. 1, 2020),

                                            https://www.washingtonpost.com/technology/2020/04/01/online-proctoring-college-exams-

                                            coronavirus. Likewise, an economics professor at Harvard University recently told Forbes that

                                            this type of technology involves an inappropriate “level of intrusion.” Sean Lawson, Are Schools

                                            Forcing Students To Install Spyware That Invades Their Privacy As A Result Of The

                                            Coronavirus Lockdown?, FORBES (Apr. 24, 2020 6:34 PM),

                                            https://www.forbes.com/sites/seanlawson/2020/04/24/are-schools-forcing-students-to-install-

                                            spyware-that-invades-their-privacy-as-a-result-of-the-coronavirus-lockdown/?sh=1fbe87cb638d.

                                            Relatedly, Duke University has decided not to allow virtual proctoring at this time, in part

                                            because of security concerns. Id.

                                                   5.      All the while, students are left in the dark about the vast amount of information

                                            their university collects through remote proctoring tools. Northwestern does not disclose or

                                            obtain written consent before collecting, capturing, storing, or disseminating users’ biometric

                                            data through remote proctoring tools. Northwestern also fails to disclose what it does with that




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                                            biometric data after collection and does not comply with BIPA’s retention and destruction

                                            requirements for private entities that possess biometric identifiers and biometric information.
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                                                   6.      It is, therefore, no surprise that there is an outcry among students and faculty

                                            about the use of online proctoring software and services. Petitions have sprung up across college

                                            campuses nationwide demanding a ban on online proctoring. At major universities, such as the

                                            University of Texas at Dallas, California State University Fullerton, the University of Miami,

                                            Florida State University, Auburn University, the University of Wisconsin–Madison, and the City

                                            University of New York, petitions have gained tens of thousands of student and faculty

                                            signatures.

                                                   7.      At the University of California Santa Barbara, the Faculty Association published a

                                            letter demanding that university administration officials rescind its contracts with online-

                                            proctoring companies amid concerns these tools could turn the university into “a surveillance

                                            tool.” Id.

                                                   8.      Plaintiff Jane Doe brings this action to enforce her legal rights under Illinois’

                                            Biometric Information Privacy Act (“BIPA”) and those of the proposed classes of consumers she

                                            represents.

                                                   9.      BIPA is designed to protect consumers against the threat of irreparable privacy

                                            harms, identity theft, and other economic injuries arising from private entities’ increasing use of

                                            biometric identifiers and information.

                                                   10.     In enacting BIPA in 2008, the Illinois Legislature recognized that biometrics are

                                            unlike other unique identifiers because they are biologically unique to the individual and cannot

                                            be changed. Once compromised, the individual has no recourse. See 749 ILCS 14/5.




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                                                    11.       BIPA protects public welfare, security, and safety by regulating the collection,

                                            use, safeguarding, handling, storage, retention, and destruction of biometric identifiers and
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                                            information. Id.

                                                    12.       BIPA defines biometric identifiers as “a retina or iris scan, fingerprint, voiceprint,

                                            or scan of hand or face geometry.” 740 ILCS 14/10.

                                                    13.       BIPA defines biometric identifiers as “any information, regardless of how it is

                                            captured, converted, stored or shared, based on an individual’s biometric identifier used to

                                            identify an individual.” Id.

                                                    14.       Plaintiff alleges Northwestern violated BIPA by, among other things, collecting,

                                            capturing, using, storing, and sharing Plaintiff’s and class members’ biometric identifiers or

                                            biometric information through remote proctoring without informed written consent.

                                                    15.       Northwestern violated BIPA’s requirement that it maintain, disclose, and follow a

                                            retention policy that requires Northwestern to permanently destroy students’ biometric data

                                            obtained through remote exam proctoring once the purpose for collecting such data has been

                                            satisfied.

                                                    16.       Northwestern’s failure to follow BIPA’s express disclosure and consent

                                            requirements and failure to comply with the destruction requirements for biometric identifiers

                                            and information was an invasion of Plaintiff’s personal rights and the rights of the class members

                                            she represents.

                                                    17.       A class action is the best means of obtaining redress for Northwestern’s wide-

                                            scale BIPA violations and is consistent with the fairness and efficiency goals of class actions.

                                                                               JURISDICTION AND VENUE

                                                    18.       This Court has subject-matter jurisdiction over this putative class action lawsuit

                                            because it arises under Illinois law.

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                                                    19.    The Court has personal jurisdiction over Northwestern pursuant to 735 ILCS 5/2-

                                            209 because Plaintiff’s claims arise out of and relate to Northwestern’s conduct in the state of
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                                            Illinois.

                                                    20.    Venue is proper in this Court under 735 ILCS 5/2-101(2) because the transaction

                                            or some part thereof out of which the cause of action arose occurred in Cook County.

                                                                                        PARTIES

                                                    21.    Plaintiff Jane Doe is a natural person who resides in Cook County.

                                                    22.    Northwestern is an Illinois not-for-profit corporation with its principal place of

                                            business at 633 Clark Street, Evanston, Illinois 60208.

                                                                              FACTUAL BACKGROUND

                                            A.      Online and Remote Proctoring

                                                    23.    During the COVID-19 pandemic, schools, colleges, universities, and other

                                            educational institutions (“Institutions”) have been forced to cease in-person instruction and move

                                            to remote learning. However, even prior to the pandemic, many Institutions like Northwestern

                                            have offered online coursework that requires students to take quizzes and exams online.

                                                    24.    To facilitate remote test-taking, Institutions contract with private companies that

                                            offer online exam monitoring and proctoring services.

                                                    25.    These companies offer several cloud-based software and service applications to

                                            assist Institutions in providing online content and exams to students.

                                                    26.    Institutions like Northwestern that use remote proctoring tools often incorporate

                                            these tools into the Institution’s learning management system (“LMS”). Well-known LMSs

                                            include Canvas, Blackboard Learn, Brightspace, and Moodle.

                                                    27.    Upon information and belief, Northwestern purchases licenses from remote

                                            proctoring service providers and integrates those services into Northwestern’s LMS.

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                                            B.     Online Proctoring Tools

                                                   28.     This lawsuit arises from Northwestern’s use of automated and remote exam
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                                            proctoring solutions that enable students to take exams online in a non-proctored environment.

                                                   29.     Dozens of colleges and universities in Illinois, including Northwestern, use

                                            remote proctoring tools.

                                                   30.     Northwestern makes public that it has explored a “host of online proctoring

                                            opportunities in Canvas.” NORTHWESTERN,

                                            https://digitallearning.northwestern.edu/article/2018/04/23/northwestern-explores-host-online-

                                            proctoring-opportunities-canvas (last visited Jan. 24, 2021).

                                                   31.     However, upon information and belief, from time to time, Northwestern has

                                            contracted with online proctoring companies, including Respondus, Inc. and Examity Inc., for

                                            Northwestern’s students’ online course assessments.

                                                   32.     On Northwestern’s behalf, online proctoring companies collect biometric

                                            identifiers or biometric information from students as part of the remote proctoring assessment.

                                                   33.     The terms and conditions students accept before using Northwestern’s online

                                            proctoring tools say nothing about facial recognition, biometric identifiers, or biometric

                                            information and do not disclose to student users that their biometric identifiers or information

                                            will be captured, collected, analyzed, or disseminated during the remote proctoring session.

                                            C.     Plaintiff’s Experience with Remote Proctoring at Northwestern

                                                   34.     Plaintiff Jane Doe is currently a junior at Northwestern.

                                                   35.     Plaintiff Jane Doe pays tuition and other fees to Northwestern to take courses and

                                            receive credits toward a college degree.

                                                   36.     Plaintiff Jane Doe is enrolled in courses at Northwestern that require the use of

                                            remote proctoring tools for exams. Plaintiff Jane Doe has used these remote proctoring tools for

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                                            Northwestern course work more than ten (10) times, each time from her personal residence in

                                            Evanston, Illinois.
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                                                   37.     Plaintiff Jane Doe recalls that in taking an exam through Northwestern’s remote

                                            proctoring service, Plaintiff Jane Doe was required to show her student I.D. and take video

                                            footage of her surroundings and her face with a web camera prior to starting the exam.

                                                   38.     When agreeing to use a remote proctoring service for her Northwestern course,

                                            Plaintiff Jane Doe did not know Northwestern or its agent would collect and analyze her

                                            biometric identifiers or biometric information prior to and during the exams.

                                                   39.     When agreeing to use a remote proctoring service for her Northwestern course,

                                            Plaintiff Jane Doe did not give informed written consent for her biometric identifiers or

                                            information to be collected during the exam and then stored, used, or disseminated.

                                                   40.     When agreeing to use a remote proctoring service for her Northwestern course,

                                            Plaintiff Jane Doe was unaware of any collection and retention policy that Northwestern has

                                            regarding her biometric identifiers and biometric information that Northwestern collects and

                                            controls through its online proctoring service.

                                                   41.     The context in which Plaintiff Jane Doe was asked to accept an online proctoring

                                            service to take her exam—as a requirement to successfully complete a college course—did not

                                            give her a meaningful choice.

                                                   42.     Northwestern’s publicly-available “Privacy Statement” (the “Northwestern

                                            Privacy Policy”) does not disclose that it collects biometric information or biometric identifiers

                                            during remotely proctored exams. The Northwestern Privacy Policy does not include a retention

                                            or destruction policy for biometric data that Northwestern collects and controls during remotely




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                                            proctored exams. See NORTHWESTERN, https://www.northwestern.edu/privacy/ (last visited Jan.

                                            24, 2021).
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                                                   43.     Northwestern has a Biometric Information Privacy Policy applicable to

                                            fingerprints collected as a security measure for access to certain campus facilities. A copy of the

                                            Northwestern Biometric Policy is attached hereto as Exhibit A and is publicly available on

                                            Northwestern’s website. See NORTHWESTERN,

                                            https://www.northwestern.edu/risk/compliance/compliance-areas-contacts/data-management-

                                            privacy/biometric-information-privacy/index.html (last visited Jan. 24, 2021) (the “Northwestern

                                            Biometric Policy”).

                                                   44.     However, on its face, the Northwestern Biometric Policy does not apply to

                                            biometric identifiers or information Northwestern collects through remote proctoring.

                                                   45.     The Northwestern Biometric Policy states that Northwestern “uses biometric

                                            identification systems to increase security and control access to certain campus facilities. The

                                            University recognizes the sensitivity of Biometric Information and takes seriously its obligations

                                            to maintain the confidentiality and protect the security of data.” (Ex. A.)

                                                   46.     The Northwestern Biometric Policy expressly states Northwestern will not collect

                                            or obtain an individual’s “Biometric Data” without prior written consent, and the “consent form

                                            will inform the individual of the reason the Biometric Information is being collected and the

                                            length of time the data will be stored.” (Id.)

                                                   47.     In violation of the Northwestern Biometric Policy, Northwestern did not obtain

                                            Plaintiff Jane Doe’s prior written consent to obtain her biometric information while she was

                                            using Northwestern’s remote proctoring tools and did not inform Plaintiff Jane Doe of the reason

                                            the information was collected nor the length of time it would be stored.



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                                                    48.     Indeed, Northwestern’s Secure Exam Proctoring in Canvas information page does

                                            not refer to biometric data or monitoring. A copy of Northwestern’s Secure Exam Proctoring in
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                                            Canvas information page is attached hereto as Exhibit B and is publicly available on

                                            Northwestern’s website. See NORTHWESTERN,

                                            https://digitallearning.northwestern.edu/opportunities/secure-exam-proctoring-canvas (last

                                            visited Jan. 26, 2021).

                                                                                  CLASS ALLEGATIONS

                                                    49.     Plaintiff brings this action on behalf of classes of all other persons or entities

                                            similarly situated in the state of Illinois (the “Classes”).

                                                    50.     The Classes of persons Plaintiff proposes to represent are tentatively defined as:

                                                            All persons who took an assessment as a student of Northwestern
                                                            in the state of Illinois at any time during the last five years prior to
                                                            the filing of this Complaint through trial, where the assessment
                                                            included the use of a remote proctoring tool that collected or
                                                            captured the student’s biometric information (the “Collection
                                                            Class”).

                                                            All persons who took an assessment as a student of Northwestern
                                                            in the state of Illinois at any time during the last five years prior to
                                                            the filing of this Complaint through trial, where the assessment
                                                            included the use of a remote proctoring tool that retained the
                                                            student’s biometric information (the “Retention Class”).

                                                            All persons who took an assessment as a student of Northwestern
                                                            in the state of Illinois at any time during the last five years prior to
                                                            the filing of this Complaint through trial, where the assessment
                                                            included the use of a remote proctoring tool that disclosed or
                                                            disseminated the student’s biometric information (the “Disclosure
                                                            Class”).

                                                    51.     Excluded from the Classes are counsel, Northwestern, any entities in which

                                            Northwestern has a controlling interest, Northwestern’s agents and employees, any judge to

                                            whom this action is assigned, and any member of such judge’s staff and immediate family.



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                                                   52.     The Classes defined above are identifiable through Northwestern’s business

                                            records.
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                                                   53.     The potential members of the Classes number at least in the thousands.

                                                   54.     Individual joinder of these persons is impracticable.

                                                   55.     Plaintiff is a member of the Classes.

                                                   56.     There are questions of law and fact common to Plaintiff and to the proposed

                                            Classes, including but not limited to the following:

                                                           a.      Whether Northwestern developed a written policy, available to the public,

                                            establishing a retention schedule and guidelines for permanently destroying biometric identifiers

                                            and biometric information collected through remote proctoring tools Northwestern provided

                                            students, when the initial purposes for collecting such identifiers or information have been

                                            satisfied or within three (3) years of the individual’s last interaction with Northwestern,

                                            whichever occurs first, and whether Northwestern complied with such written policy;

                                                           b.      Whether Northwestern collects, captures, or otherwise obtains Plaintiff’s

                                            and Class members’ biometric identifiers or information without:

                                                                    (i)     informing them in writing that a biometric identifier or biometric

                                                                            information is being collected and stored;

                                                                    (ii)    informing them in writing of the specific purpose and length of

                                                                            term for which biometric identifier or biometric information is

                                                                            being collected, stored, and used; or

                                                                    (iii)   obtaining their written release;




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                                                            c.         Whether Northwestern discloses or disseminates Plaintiff’s and Class

                                            Members’ biometric identifiers or biometric information without Plaintiff’s and Class members’
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                                            consent;

                                                            d.         Whether Northwestern’s conduct was negligent;

                                                            e.         Whether Northwestern’s conduct was knowing or reckless; and

                                                            f.         Whether Plaintiff and Class members are entitled to damages for violation

                                            of their privacy rights.

                                                    57.     Plaintiff’s claims are typical of the claims of Class members.

                                                    58.     Plaintiff is an adequate representative of the Classes because her interests do not

                                            conflict with the interests of the Classes, she will fairly and adequately protect the interests of the

                                            Classes, and she is represented by counsel skilled and experienced in class actions.

                                                    59.     Common questions of law and fact predominate over questions affecting only

                                            individual Class members, and a class action is the superior method for fair and efficient

                                            adjudication of the controversy. The only individual question concerns identification of Class

                                            members, which will be ascertainable from records maintained by Northwestern.

                                                    60.     The likelihood that individual members of the Classes will prosecute separate

                                            actions is remote due to the time and expense necessary to prosecute an individual case.

                                                    61.     Plaintiff is not aware of any litigation concerning this controversy already

                                            commenced by others who meet the criteria for class membership described above.

                                                                              FIRST CLAIM FOR RELIEF
                                                                                Violation of 740 ILCS 15(a)
                                                                       (On Behalf of Plaintiff and the Retention Class)

                                                    62.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by

                                            reference herein.



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                                                   63.     Northwestern is a “private entity” for purposes of BIPA.

                                                   64.     Northwestern is in possession of biometric identifiers or biometric information
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                                            from students who use remote proctoring tools Northwestern requires for its courses.

                                                   65.     Northwestern does not have a written policy made available to the public

                                            establishing a retention schedule and guidelines for permanently destroying biometric identifiers

                                            and biometric information collected during remotely-proctored exams when the initial purposes

                                            for collecting or obtaining such identifiers or information have been satisfied or within three (3)

                                            years of the individual’s last interaction with the private entity, whichever occurs first.

                                                   66.     Northwestern does not comply with any established retention schedule or

                                            destruction guideline.

                                                   67.     Northwestern’s failure to maintain and comply with such a written policy is

                                            negligent and reckless because BIPA has governed the collection and use of biometric identifiers

                                            and biometric information since 2008, and Northwestern is presumed to know these legal

                                            requirements. Northwestern’s conduct is all the more egregious given that it maintains the

                                            Northwestern Biometric Policy applicable to the collection of other biometric information—

                                            fingerprints—for the purpose of securing its campus facilities.

                                                   68.     Northwestern’s unlawful conduct caused injury to Plaintiff and the proposed

                                            Retention Class.

                                                   69.     Plaintiff and the Retention Class seek damages, attorney’s fees, and costs.




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                                                                         SECOND CLAIM FOR RELIEF
                                                                            Violation of 740 ILCS 15(b)
                                                                   (On Behalf of Plaintiff and the Collection Class)
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                                                    70.    Plaintiff repeats the prior allegations of this Complaint and incorporates them by

                                            reference herein.

                                                    71.    Northwestern collects, captures, and obtains biometric identifiers or biometric

                                            information from students who use remote proctoring tools Northwestern requires for its courses.

                                                    72.    Northwestern collects, captures, and obtains such identifiers or information

                                            without informing the students in writing that biometric identifiers or biometric information are

                                            being collected or stored.

                                                    73.    Northwestern collects, captures, and obtains such identifiers or information

                                            without informing the students in writing of the specified purpose and length of term for which

                                            biometric identifiers or biometric information is being collected, stored, and used.

                                                    74.    Northwestern collects, captures, and obtains such identifiers or information

                                            without receiving a written release executed by the students.

                                                    75.    Northwestern’s unlawful conduct is negligent and reckless because BIPA has

                                            governed the collection and use of biometric identifiers and biometric information since 2008,

                                            and Northwestern is presumed to know these legal requirements. Northwestern’s conduct is all

                                            the more egregious given that it maintains the Northwestern Biometric Policy applicable to the

                                            collection of other biometric information—fingerprints—for the purpose of securing its campus

                                            facilities.

                                                    76.    Northwestern’s unlawful conduct caused injury to Plaintiff and the proposed

                                            Collection Class.

                                                    77.    Plaintiff and the Collection Class seek damages, attorney’s fees, and costs.



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                                                                           THIRD CLAIM FOR RELIEF
                                                                             Violation of 740 ILCS 15(c)
                                                                        (On Behalf of Plaintiff and All Classes)
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                                                    78.    Plaintiff repeats the prior allegations of this Complaint and incorporates them by

                                            reference herein.

                                                    79.    Northwestern is in possession of biometric identifiers or biometric information it

                                            collects when students use remote proctoring tools Northwestern requires for its courses.

                                                    80.    Northwestern charges students tuition and other fees for academic courses

                                            Northwestern offers. To complete required course examinations, students are required to use the

                                            remote proctoring tools.

                                                    81.    Northwestern profits from requiring students to use remote proctoring tools, as it

                                            allows Northwestern to offer online coursework and thereby receive tuition dollars from

                                            students.

                                                    82.    Northwestern’s unlawful conduct is negligent and reckless because BIPA has

                                            governed the collection and use of biometric identifiers and biometric information since 2008,

                                            and Northwestern is presumed to know these legal requirements. Northwestern’s conduct is all

                                            the more egregious given that it maintains the Northwestern Biometric Policy applicable to the

                                            collection of other biometric information—fingerprints—for the purpose of securing its campus

                                            facilities.

                                                    83.    Northwestern’s unlawful conduct caused injury to Plaintiff and the proposed

                                            Classes.

                                                    84.    Plaintiff and the Classes seek damages, attorney’s fees, and costs.




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                                                                         FOURTH CLAIM FOR RELIEF
                                                                            Violation of 740 ILCS 15(d)
                                                                   (On Behalf of Plaintiff and the Disclosure Class)
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                                                    85.    Plaintiff repeats the prior allegations of this Complaint and incorporates them by

                                            reference herein.

                                                    86.    Northwestern is in possession of biometric identifiers or biometric information it

                                            collects when students use remote proctoring tools Northwestern requires for its courses.

                                                    87.    Northwestern discloses or disseminates students’ biometric identifiers or

                                            biometric information to its instructors and other agents without the students’ consent to the

                                            disclosure.

                                                    88.    Northwestern’s unlawful conduct is negligent and reckless because BIPA has

                                            governed the collection and use of biometric identifiers and biometric information since 2008,

                                            and Northwestern is presumed to know these legal requirements. Northwestern’s conduct is all

                                            the more egregious given that it maintains the Northwestern Biometric Policy applicable to the

                                            collection of other biometric information—fingerprints—for the purpose of securing its campus

                                            facilities.

                                                    89.    Northwestern’s unlawful conduct caused injury to Plaintiff and the proposed

                                            Disclosure Class.

                                                    90.    Plaintiff and the Disclosure Class seek damages, attorney’s fees, and costs.

                                                    WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

                                            following relief:

                                                    A.     Certification of the proposed Classes;

                                                    B.     Appointment of Plaintiff as representative of the Classes;

                                                    C.     Appointment of the undersigned counsel as counsel for the Classes;

                                                    D.     An award to Plaintiff and the Classes of damages, as allowed by law; and

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                                                    E.      Orders granting such other and further relief as the Court deems necessary, just,

                                            and proper.
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                                                                               JURY TRIAL DEMANDED

                                                    Plaintiff, on behalf of herself and all others similarly situated, hereby demands trial by

                                            jury on all issues in this Complaint that are triable as a matter of right.


                                            Dated: January 27, 2021                 Respectfully submitted,

                                                                                    /s/ Brian K. Murphy
                                                                                    Brian K. Murphy (IL Atty. No. 6225697;
                                                                                    Cook County No. 37524)
                                                                                    Joseph F. Murray (pro hac vice to be filed)
                                                                                    Jonathan P. Misny (pro hac vice to be filed)
                                                                                    Murray Murphy Moul + Basil LLP
                                                                                    1114 Dublin Road
                                                                                    Columbus, OH 43215
                                                                                    Telephone: 614.488.0400
                                                                                    Facsimile: 614.488.0401
                                                                                    E-mail: murphy@mmmb.com
                                                                                            murray@mmmb.com
                                                                                            misny@mmmb.com

                                                                                    Mary C. Turke (pro hac vice to be filed)
                                                                                    Turke & Strauss LLP
                                                                                    613 Williamson Street #201
                                                                                    Madison, WI 53703
                                                                                    Telephone: 608.237.1775
                                                                                    Facsimile: 608.509.4423
                                                                                    E-mail: mary@turkestrauss.com

                                                                                    Anthony I. Paronich (pro hac vice to be filed)
                                                                                    Paronich Law, P.C.
                                                                                    350 Lincoln Street, Suite 2400
                                                                                    Hingham, MA 02043
                                                                                    Telephone: 508.221.1510
                                                                                    E-mail: anthony@paronichlaw.com

                                                                                    Counsel for Plaintiff




                                                                                              16
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                                                                 EXHIBIT A
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                                                                                              Approving University Official(s): Senior Vice President for
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                                                                                                Business and Finance
                                                                                              Responsible Office: Risk, Internal Audit, and Compliance
                                                                                              Effective date: June 6, 2019
                                                                                              Next review date: June 6, 2020



                                                           BIOMETRIC INFORMATION PRIVACY POLICY

                                            Policy Statement
                                            Northwestern University (“Northwestern” or “the University”) uses biometric identification systems to
                                            increase security and control access to certain campus facilities. The University recognizes the sensitivity
                                            of Biometric Information and takes seriously its obligations to maintain the confidentiality and protect the
                                            security of data.

                                            Purpose
                                            In accordance with the Illinois Biometric Privacy Act, 740 ILCS 14/1 et seq., and other laws and
                                            regulations, the policy sets forth the University’s procedures for disclosure, storage and destruction of
                                            Biometric Information.

                                            Audience
                                            Faculty, staff, students, and third-party contractors.

                                            Definitions
                                            Biometric Identifier. A fingerprint, voiceprint, retina or iris scan, hand or face geometry scan.

                                            Biometric Information or Biometric Data. Information based on a person’s biometric identifier that is
                                            used to identify that person.

                                            Policy Implementation
                                              I.     Consent
                                                     An individual’s Biometric Data will not be collected or otherwise obtained by Northwestern
                                                     University without prior written consent of the individual. The consent form will inform the
                                                     individual of the reason the Biometric Information is being collected and the length of time the
                                                     data will be stored.

                                              II.    Disclosure
                                                     The University will not disclose or disseminate any Biometric Data to anyone other than its
                                                     Biometric Identifier collector vendor(s) and/or licensor(s), unless:
                                                         a. Disclosure is required by state or federal law or municipal ordinance; or other identifier;
                                                         b. Disclosure is required pursuant to a valid warrant or subpoena issued by a court of competent
                                                            jurisdiction,


                                            06.06.2019                                                                                                      1
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                                                         c. The disclosed data completes a financial transaction requested or authorized by the employee;
                                                            or
                                                         d. The employee has consented to such disclosure or dissemination.
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                                              III. Storage
                                                   In circumstances where Northwestern retains Biometric Information, the University will use a
                                                   reasonable standard of care to store, transmit and protect from disclosure any paper or electronic
                                                   Biometric Data collected. Storage, transmission, and protection from disclosure shall be performed
                                                   in a manner that is the same as or more protective than the manner in which the University stores,
                                                   transmits and protects from disclosure other confidential and sensitive information that is used to
                                                   uniquely identify an individual.

                                              IV. Retention Schedule
                                                  In circumstances where Northwestern retains Biometric Information, the University will
                                                  permanently destroy an individual’s Biometric Data within six (6) months of when the initial
                                                  purpose for collecting or obtaining such Biometric Data has been satisfied, such as:
                                                         a.   The employee’s employment is terminated;
                                                         b.   The student graduates or otherwise leaves the University;
                                                         c.   The employee transfers to a position for which the Biometric Data is not used; or
                                                         d.   The University no longer uses the Biometric Information.
                                                    If any University’s vendors and/or licensors require access to Biometric Data in order to fulfill the
                                                    purpose of collecting such information, the University will request that they follow the above
                                                    destruction schedule.


                                            Related Information
                                            Biometric Identifier Collection Authorization Form

                                            Contacts
                                            The following office can address questions regarding this Policy:

                                            Risk, Internal Audit, and Compliance
                                            Phone: (847) 467-6170; email: university.compliance@northwestern.edu


                                            History
                                            This policy was enacted June 6, 2019.


                                            Policy URL:
                                            http://policies.northwestern.edu/docs/biometric-information-privacy-policy-final.pdf




                                            06.06.2019                                                                                                      2
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                                                                 EXHIBIT B
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                                            Secure Exam Proctoring in Canvas | Digital Learning                                                            1/26/21, 5(10 PM




                                             DIGITAL LEARNING
                                             EDUCATIONAL INNOVATION ACROSS NORTHWESTERN
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                                             Secure Exam Proctoring in Canvas
                                             Secure Exam Proctoring in Canvas

                                                                                                                                       Product Name: MONITOR
                                             Respondus Monitor is an optional service enabled through LockDown
                                                                                                                                       Used for: EXAM SECURITY
                                             Browser
                                             Browser. Monitor uses webcam and video technology to allow students the
                                                                                                                                       IN CANVAS
                                             opportunity to take quizzes or exams remotely. Respondus Monitor integrates
                                                                                                                                       Cost: FREE
                                             seamlessly with Canvas and is ideal for non-proctored testing environments.
                                                                                                                                       Canvas Integration: YES
                                                                                                                                       Get started with
                                                                                                                                       Respondus Monitor and
                                             Get Started                                                                               LockDown Browser

                                             Currently this tool is available to pilot until the end of May, 2020.

                                             If your course is offered through Feinberg School of Medicine or Northwestern
                                             University in Qatar, check the left hand navigation of your Canvas course, as
                                             Lockdown Browser may already be available. Monitor is available through Lockdown Browser.

                                             Monitor and LockDown Browser integrate seamlessly with Canvas and include a host of secure features. Interested faculty
                                             should reach out to Northwestern Information Technology to have this tool added to your Canvas course.

                                                1.   Visit the Learning Apps store
                                                                             store, scroll to Lockdown Browser and select the course you wish to add it to.

                                                2.   Review Respondus’ Online Instructor Resources for Lockdown Browser and Monitor (this includes information
                                                     for your syllabus and a overview videos).

                                                3.   Download the instructor               and student          quick start guides.


                                             If you are using LockDown Brower and are experiencing any difficulties, please contact: support@respondus.com
                                                                                                                                     support@respondus.com.




                                             Key Features & Benefits

                                             Respondus LockDown Browser and Monitor add a layer of security for online exams delivered through Canvas. With a
                                             custom browser that locks down the testing environment within Canvas, students are unable to copy, print, chat, or access
                                             any other applications or websites during an online exam. While LockDown Browser is ideal for exam proctoring in
                                             computer lab or classroom settings, Monitor allows students to take quizzes or exams remotely during a scheduled testing
                                             window. Through student webcam authentication and recording, suspicious behavior is flagged and videos are available in

                                            https://digitallearning.northwestern.edu/opportunities/secure-exam-proctoring-canvas                                Page 1 of 2
                                                               Case: 1:21-cv-01579 Document #: 1-1 Filed: 03/22/21 Page 23 of 28 PageID #:33
                                            Secure Exam Proctoring in Canvas | Digital Learning                                                1/26/21, 5(10 PM



                                             Canvas for faculty to review.
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                                             Screenshot: Respondus


                                                       CONTACT US




                                            © 2021 Northwestern University


                                            Northwestern University
                                            633 Clark St.
                                            Evanston, IL 60611
                                            digitallearning@northwestern.edu




                                            https://digitallearning.northwestern.edu/opportunities/secure-exam-proctoring-canvas                    Page 2 of 2
                                       Case:
                      Return Date: No return   1:21-cv-01579
                                             date scheduled              Document #: 1-1 Filed: 03/22/21 Page 24 of 28 PageID #:34
                      Hearing Date: No hearing scheduled
                      Courtroom Number: No hearing scheduled
                      Location: No hearing scheduled                                                                                  FILED
                                                                                                                                      1/27/2021 2:59 PM
                                                                                                                                      IRIS Y. MARTINEZ
                                                                                                                                      CIRCUIT CLERK
                                                                                                                                      COOK COUNTY, IL
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                                                                                                                                      2021CH00404

                                                                                                                                      11994084
                                            2120 - Served                    2121 - Served              2620 - Sec. of State
                                            2220 - Not Served                2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail            2321 - Served By Mail
                                            2420 - Served By Publication     2421 - Served By Publication
                                            Summons - Alias Summons                                                  () CCG 0001 A


                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                            Name all Parties
                                            JANE DOE, individually and on behalf of all
                                            others similarly situated

                                                                                     Plaintiff(s)
                                                                    v.
                                                                                                    Case No.   2021CH00404
                                            NORTHWESTERN UNIVERSITY


                                                                                   Defendant(s)
                                            633 Clark Street
                                            Evanston, IL 60208

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):       &HUWLÀHG0DLO      Sheriff Service    Alias
                                                                                          SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            <RXDUHVXPPRQHGDQGUHTXLUHGWRÀOH\RXUDSSHDUDQFHLQWKHRIÀFHRIWKHFOHUNRIWKLVFRXUW
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                               THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            7RÀOH\RXUZULWWHQDSSHDUDQFHDQVZHUYOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE. You will need: a computer with internet access; an email address; a completed
                                            $SSHDUDQFHIRUPWKDWFDQEHIRXQGDWKWWSZZZLOOLQRLVFRXUWVJRY)RUPVDSSURYHGSURFHGXUHV
                                            appearance.asp; and a credit card to pay any required fees.



                                                         ,ULV<0DUWLQH], Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                             Page 1 of 3
                                                        Case: 1:21-cv-01579 Document #: 1-1 Filed: 03/22/21 Page 25 of 28 PageID #:35
                                            Summons - Alias Summons                                                                                 (/20) CCG 0001 B
                                            (ÀOLQJLVQRZPDQGDWRU\ZLWKOLPLWHGH[HPSWLRQV7RHÀOH\RXPXVWÀUVWFUHDWHDQDFFRXQWZLWKDQHÀOLQJ
                                            VHUYLFHSURYLGHU9LVLWKWWSHÀOHLOOLQRLVFRXUWVJRYVHUYLFHSURYLGHUVKWPWROHDUQPRUHDQGWRVHOHFWDVHUYLFH
                                            provider.
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                                            ,I \RXQHHGDGGLWLRQDOKHOSRUKDYHWURXEOHHÀOLQJYLVLWKWWSZZZLOOLQRLVFRXUWVJRYIDTJHWKHOSDVSRUWDONZLWK
                                            \RXUORFDOFLUFXLWFOHUN·VRIÀFH,I \RXFDQQRWHÀOH\RXPD\EHDEOHWRJHWDQH[HPSWLRQWKDWDOORZV\RXWRÀOHLQ
                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            ,I \RXDUHXQDEOHWRSD\\RXUFRXUWIHHV\RXFDQDSSO\IRUDIHHZDLYHU)RULQIRUPDWLRQDERXWGHIHQGLQJ
                                            \RXUVHOI LQDFRXUWFDVH LQFOXGLQJÀOLQJDQDSSHDUDQFHRUIHHZDLYHU RUWRDSSO\IRUIUHHOHJDOKHOSJRWRZZZ
                                            LOOLQRLVOHJDODLGRUJ<RXFDQDOVRDVN\RXUORFDOFLUFXLWFOHUN·VRIÀFHIRUDIHHZDLYHUDSSOLFDWLRQ
                                            3OHDVHFDOORUHPDLOWKHDSSURSULDWHFOHUN·VRIÀFHORFDWLRQ RQ3DJHRI WKLVVXPPRQV WRJHW\RXUFRXUWKHDULQJ
                                            date AND for information whether your hearing will be held by video conference or by telephone. The Clerk’s
                                            RIÀFHLVRSHQ0RQ)ULDPSPH[FHSWIRUFRXUWKROLGD\V
                                            127(<RXUDSSHDUDQFHGDWHLV127DFRXUWGDWH,WLVWKHGDWHWKDW\RXKDYHWRÀOH\RXUFRPSOHWHG
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                                            $FRXUWGDWHZLOOEHVHWLQWKHIXWXUHDQG\RXZLOOEHQRWLÀHGE\HPDLO HLWKHUWRWKHHPDLODGGUHVVWKDW\RXXVHGWR
                                            UHJLVWHUIRUHÀOLQJRUWKDW\RXSURYLGHGWRWKHFOHUN·VRIÀFH 
                                            CONTACT THE CLERK’S OFFICE for information regarding COURT DATES by visiting our website:
                                            cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
                                            DSSURSULDWHFOHUN·VRIÀFHORFDWLRQOLVWHGRQ3DJH
                                            7RWKHRIÀFHU 6KHULII 6HUYLFH
                                            7KLVVXPPRQVPXVWEHUHWXUQHGE\WKHRIÀFHURURWKHUSHUVRQWRZKRPLWZDVJLYHQIRUVHUYLFHZLWKHQGRUVHPHQW
                                            of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summons may not be served later than thirty (30) days after its date.




                                                                                                                             1/27/2021 2:59 PM IRIS Y. MARTINEZ
                                                          37524
                                               Atty. No.: ________________                                 Witness date
                                               Pro Se 99500
                                            Name: Brian K. Murphy
                                            Atty. for (if applicable):                                                 ,5,6<0$57,1(= Clerk of Court
                                            Plaintiff                                                          6HUYLFHE\&HUWLILHG0DLO___________

                                            Address: 1114 Dublin Road                                          Date of Service: ____________
                                                                                                               7REHLQVHUWHGE\RIÀFHURQFRS\OHIWZLWKHPSOR\HURURWKHUSHUVRQ
                                            City: Columbus
                                                    OH
                                            State: ____         43215
                                                           Zip: ________
                                                       614.488.0400
                                            Telephone: ________________________
                                            Primary Email: murphy@mmmb.com

                                                                  ,ULV<0DUWLQH], Clerk of the Circuit Court of Cook County, Illinois
                                                                                       cookcountyclerkofcourt.org
                                                                                                     Page 2 of 3
                                                         Case: 1:21-cv-01579 Document #: 1-1 Filed: 03/22/21 Page 26 of 28 PageID #:36

                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            DSSURSULDWHGLYLVLRQGLVWULFWRUGHSDUWPHQWWRUHTXHVW\RXUQH[WFRXUWGDWH(PDLO\RXUFDVHQXPEHURULI \RXGR
                                            not have your case number, email the Plaintiff or Defendant’s name for civil case types, or the Defendant’s name
FILED DATE: 1/27/2021 2:59 PM 2021CH00404




                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                          ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                        DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                     Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                            CIVIL DIVISION                                *HQ,QIR  
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                  DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                     Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                                 *HQ,QIR  
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                       DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                     Court date EMAIL: '&RXUW'DWH#FRRNFRXQW\FRXUWFRP
                                             DOMESTIC RELATIONS/CHILD SUPPORT                             *HQ,QIR  
                                                              DIVISION                                               DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com             Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                              OR
                                                              ChildSupCourtDate@cookcountycourt.com
                                                                                                          *HQ,QIR  
                                            Gen. Info:    (312) 603-6300                                              DISTRICT 6 - MARKHAM

                                                        DOMESTIC VIOLENCE                                 Court date EMAIL: D6CourtDate@cookcountycourt.com
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com             *HQ,QIR  
                                            Gen. Info: (312) 325-9500
                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            *HQ,QIR  
                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            *HQ,QIR  




                                                                 ,ULV<0DUWLQH], Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
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                                     SHERIFF'S OFFICE OF COOK COUNTY
                                           AFFIDAVIT OF SERVICE

CASE NUMBER: 2021CH00404      SHERIFF NUMBER: 50053630 MULT. SER.: 1        DOC. TYPE: CHAN
DIE DATE: 02/20/2021 RECEIVED DATE:    01/28/2021 FILED DATE: 01/27/2021    DIST:   201
DEFENDANT: NORTHWESTERN UNIVERSITY                 PLAINTIFF: DOE, JANE
ADDRESS:     633 Clark                             ATTORNEY: MURRAY MURPHY MOUL BASIL LLP
CITY:        Evanston                              ADDRESS:   633 Dublin RD
STATE:       IL     ZIP CODE: 60208                CITY:      COLUMBUS

ATTACHED FEE AMT:                                          STATE:   OH       ZIP CODE:   43215
SERVICE INFORMATION:
I CERTIFY THAT I SERVED THE DEFENDANT/RESPONDENT AS FOLLOWS:
      (1) PERSONAL SERVICE: BY LEAVING A COPY OF THE WRIT/ORDER WITH THE DEFENDANT/RESPONDENT
  ¨ PERSONALLY, AND INFORMING DEFENDANT/RESPONDENT OF CONTENTS.
      (2) SUBSTITUTE SERVICE: BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT AT THE DEFENDANT'S USUAL
      PLACE OF ABODE WITH A FAMILY MEMBER OR PERSON RESIDING THERE, 13 YEARS OR OLDER, AND INFORMING
  þ THAT PERSON OF THE CONTENTS OF THE SUMMONS. ALSO, A COPY OF THE SUMMONS WAS MAILED TO THE
      DEFENDANT AT HIS OR HER USUAL PLACE OF ABODE ON THE 19 DAY OF February 2021.
      (3) UNKNOWN OCCUPANTS: BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT NAMING "UNKNOWN
  ¨ OCCUPANTS" WITH A PERSON OF THE AGE OF 13 OR UPWARDS OCCUPYING SAID PREMISE.
      (4) CORP/CO/BUS/PART: BY LEAVING THE APPROPRIATE NUMBER OF COPIES OF THE SUMMONS, COMPLAINTS,
  ¨ INTERROGATORIES, JUDGMENTS, CERTIFICATIONS AND NOTICES WITH THE REGISTERED AGENT, AUTHORIZED
      PERSON OR PARTNER OF THE DEFENDANT CORPORATION         COMPANY      BUSINESS     PARTNERSHIP
     (5) PROPERTY RECOVERED: NO ONE PRESENT TO RECEIVE ORDER OF COURT. ORDER POSTED IN PLAIN VIEW.
 ¨
   (6) S.O.S/D.O.I.: BY LEAVING THE SUMMONS AND COMPLAINT WITH THE SECRETARY OF THE STATE/DIRECTOR OF
 ¨ INSURANCE OF THE STATE OF ILLINOIS, AN AGENT OF SAID DEFENDANT LISTED ABOVE. ANY AGENT OF SAID
   CORPORATION NOT FOUND IN THE COUNTY OF COOK.
 ¨   (7) CERTIFIED MAIL
         **** COMPLETE THIS SECTION IF WRIT IS A THIRD PARTY CITATION/GARNISHMENT ****
     (8) AND BY MAILING ON THE     DAY OF       20      A COPY OF THE THIRD PARTY GARNISHMENT/CITATON
     SUMMONS AND NOTICE TO THE JUDGMENT DEBTOR'S LAST KNOWN ADDRESS AS INDICATED IN THE NOTICE
     WITHIN (2) BUSINESS DAYS OF SERVICE UPON GARNISHEE/THIRD PARTY DEFENDANT.

THE NAMED DEFENDANT WAS NOT SERVED FOR THE GIVEN REASON BELOW:
 ¨   (01) NO CONTACT ¨   (05) WRONG ADDRESS               ¨ (09) DECEASED
 ¨   (02) MOVED      ¨   (06) NO SUCH ADDRESS             ¨ (10) NO REGISTED AGENT
 ¨   (03) EMPTY LOT  ¨   (07) EMPLOYER REFUSAL            ¨ (11) OUT OF COOK COUNTY
 ¨   (04) NOT LISTED ¨   (08) CANCELLED BY PLAINTIFF ATTY ¨ (12) OTHER REASON (EXPLAIN)
EXPLANATION:

WRIT SERVED ON:   STEPHANIE GRAHAM                                              ATTEMPTED SERVICES
SEX:     F    RACE: WH         AGE: 48                                     Date       Time       Star #
THIS     19   DAY OF Februa 20 21                                        02/03/2021   11:18:00   # 10800
                       ry
                                                                         02/09/2021   10:56:00   # 10789
TIME: 2:15 PM

THOMAS J. DART,
SHERIFF, BY: /S/ JOVICA, CONSTATINE #11007           , DEPUTY



                                             Page 1 of 2
         Case: 1:21-cv-01579 Document #: 1-1 Filed: 03/22/21 Page 28 of 28 PageID #:38

                                   SHERIFF'S OFFICE OF COOK COUNTY
                                         AFFIDAVIT OF SERVICE

CASE NUMBER: 2021CH00404     SHERIFF NUMBER: 50053630 MULT. SER.: 1        DOC. TYPE: CHAN
DIE DATE: 02/20/2021 RECEIVED DATE:   01/28/2021 FILED DATE: 01/27/2021    DIST:   201
             Date                         Time                        Star #




                                          Page 2 of 2
